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                       IN THE UNITED STATES DISTRICT
                    COURT FOR THE DISTRICT OF COLORADO
                           Judge Daniel D. Domenico

         Case No. 1:19-cv-02005-DDD-SKC

         SRS ACQUIOM INC., and
         SHAREHOLDER REPRESENTATIVE SERVICES LLC,

                 Plaintiffs,
         v.

         PNC FINANCIAL SERVICES GROUP, INC.,
         PNC BANK, N.A.,
         HEATHER KELLY, and
         ALEX TSARNAS,

                 Defendants.


                      ORDER DENYING PLAINTIFFS’ MOTION
                        FOR PRELIMINARY INJUNCTION

              Plaintiffs SRS Acquiom Inc. and Shareholder Representative Ser-
        vices LLC (together, “SRSA”) created and developed a successful suite
        of online products to process some of the paperwork and payments in-
        volved in mergers and acquisitions. These products’ success led to prof-
        its, which inevitably led to competition. Most of that competition has
        apparently failed to dent SRSA’s position in the business, but one prod-
        uct has: PNC Paid. And SRSA brought this case because it alleges De-
        fendants PNC Financial Services Group, Inc. and PNC Bank N.A. (to-
        gether, “PNC”) took an illegal shortcut in creating PNC Paid. SRSA al-
        leges that, rather than developing its own product with its own work,
        PNC hired former SRSA employees, Defendants Heather Kelly and Alex
        Tsarnas, and built PNC Paid from confidential information those em-
        ployees brought from SRSA.
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            Among other claims, SRSA alleges that Defendants have misappro-
        priated SRSA’s trade secrets in violation of the Colorado Uniform Trade
        Secrets Act and the Federal Defense of Trade Secrets Act. Currently be-
        fore the Court is SRSA’s motion for preliminary injunction. Doc. 86. 1 The
        motion asks the Court to enjoin Defendants’ alleged misappropriation of
        five trade secrets: a contact list Ms. Kelly updated with SRSA customer
        information shortly before she left for PNC; SRSA’s custom Excel
        spreadsheet it uses to gather shareholder information; SRSA’s pricing
        strategies; SRSA’s product strategies; and two procedural documents
        Ms. Kelly took with her to PNC. Having reviewed the record and the
        evidence and arguments presented at a hearing held on March 11, 2020,
        the Court DENIES the motion. SRSA has failed to make the difficult
        showing that it is entitled to an injunction at this time.

                                      BACKGROUND

            As the fees bankers and attorneys can charge for them show, mergers
        and acquisitions are complicated affairs. Even the payments-and-escrow
        aspect of an acquisition, by which the actual purchase funds are trans-
        ferred among entities and shareholders, is surprisingly complex. On the
        payment side of an acquisition or merger, the target company must col-
        lect consents from its shareholders. Doc. 66, ¶ 23. Post-merger or acqui-
        sition, the buyer must obtain key tax and contractual forms from its
        shareholders, which it does by sending a “letter of transmittal” to share-
        holders of the acquired company. Id. ¶ 27. A letter of transmittal con-
        tains essential tax and contract forms that each shareholder must fill
        out and return to receive payment. Id. The buyer must also pay for the
        acquired company. Id. ¶ 28. To do this, the buyer often hires a paying




        1   The public entry for the motion is Document 88.

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        agent to create and collect the paperwork necessary to facilitate pay-
        ment. Id. Historically, this process was done manually, on paper. Id.
        ¶ 30.

            SRSA, however, has over the last decade developed a suite of prod-
        ucts that allow much of this payments-and-escrow business to be done
        online. Id. ¶¶ 23, 32. In 2012, SRSA developed a product they call Ac-
        quiom Clearinghouse. Id. ¶ 33. Clearinghouse is an electronic platform
        that collects and processes the shareholder information needed for pay-
        ment in a merger or acquisition. Id. Around the same time, SRSA devel-
        oped Acquiom Compensation Payments, which is an electronic platform
        for the post-merger payments process. Id. ¶ 36. SRSA’s suite of relevant
        products is rounded out by Deal Dashboard, an online site where a buyer
        or seller can see in one place the status of all of its deals being facilitated
        by SRSA, and Pre-Closing Solicitation, an automated system for distrib-
        uting and recording shareholder consents and agreements. Id. ¶ 39.

           PNC is a large international bank based in Pittsburgh. One of its
        subsidiaries, Defendant PNC Financial Services Group, Inc., is a finan-
        cial-services business with hundreds of billions of dollars in assets and
        deposits. Doc. 134, ¶ 2. In 2018, PNC acquired Fortis Advisors, LLC,
        (“Fortis”). Id. ¶ 3. Among other services, Fortis offered shareholder ser-
        vices in mergers and acquisitions. Id. ¶ 4. PNC says that its main pur-
        pose in acquiring Fortis was to offer PNC clients a full suite of payment-
        and-escrow services so that it could obtain the escrow deposits during a
        merger or acquisition. Id. ¶ 5.

           Defendants Heather Kelly and Alex Tsarnas were employees of
        SRSA until they left to join PNC in March 2018. Ms. Kelly is a veteran
        of the payments-and-escrow services industry. Doc. 130, ¶¶ 3–5. Before
        joining SRSA, she served in payments-and-escrow leadership positions


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        at Wells Fargo Bank and Wilmington Trust. Id. ¶¶ 3–4. In 2014, SRSA
        successfully recruited Ms. Kelly to leave Wilmington Trust. Id. ¶ 5. Also
        in 2014, SRSA hired Mr. Tsarnas as its managing director of global busi-
        ness development. Doc. 74, ¶ 25. Ms. Kelly and Mr. Tsarnas were heav-
        ily involved in developing and marketing SRSA’s payment-and-escrow
        products. Mot. at 6–7.

           Both Ms. Kelly and Mr. Tsarnas entered into written employment
        agreements with SRSA. Among other provisions, their contracts pro-
        hibit them from misappropriating SRSA’s trade secrets, confidential and
        proprietary information, and company property; competing with SRSA
        while employed there; and soliciting customers of SRSA for one year af-
        ter termination from SRSA. Doc. 74, ¶¶ 5, 7; Doc. 75-2, at 3, 6–8. Ms.
        Kelly’s non-solicitation agreement included an exception for approxi-
        mately 40 customers she had pre-existing relationships with before she
        joined SRSA. Doc. 75-1, at 16.

           SRSA fired Mr. Tsarnas in January 2018, and Ms. Kelly quit in
        March 2018. The details surrounding Ms. Kelly’s departure are im-
        portant to understanding this case. Ms. Kelly resigned from SRSA on
        March 8, and her last day was March 9. Mot. at 8. On the last two days
        of Ms. Kelly’s employment with SRSA, she created a document entitled
        “HK Contacts.xlsx,” in which she input contact information of client rep-
        resentatives and other industry contacts from her SRSA email and an
        SRSA database. Doc. 73, ¶¶ 27–31. SRSA says that she used this list at
        PNC to update a target list for PNC Paid. Mot. at 11. On April 2, 2018,
        Ms. Kelly’s counsel informed SRSA that Ms. Kelly had numerous SRSA
        documents in her possession, including the payments spreadsheet dis-
        cussed below. Doc. 136-3. SRSA did not respond to the letter.




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           When Ms. Kelly and Mr. Tsarnas left SRSA to join PNC in March
        2018, PNC had just begun developing a competing suite of online pay-
        ment-and-escrow products that ultimately became PNC Paid. Thirteen
        months later, in April 2019, PNC publicly launched PNC Paid. Doc. 82,
        ¶ 5. PNC executed its first deal on PNC Paid in January 2019. Doc. 94-
        7, at 1207. The basis of Plaintiffs’ motion for preliminary injunction is
        that Ms. Kelly and Mr. Tsarnas misappropriated five SRSA trade se-
        crets, giving PNC an unlawful head start on PNC Paid. The five alleged
        trade secrets are: (1) Ms. Kelly’s contact list; (2) an Excel spreadsheet
        known as the “payments spreadsheet,” which SRSA uses to gather and
        input shareholder information; (3) SRSA’s pricing strategies; (4) SRSA’s
        product-development strategies; and (5) two procedural documents
        taken by Ms. Kelly.

           Plaintiffs filed suit on July 11, 2019. In exchange for not seeking a
        temporary restraining order, the Defendants agreed to engage in expe-
        dited discovery. Plaintiffs allege numerous claims in their complaint,
        only three of which are at issue in their motion for preliminary injunc-
        tion. Plaintiffs seek to enjoin Defendants’ alleged violation of the Colo-
        rado Uniform Trade Secrets Act and the federal Defense of Trade Se-
        crets Act, as well as Ms. Kelly’s and Mr. Tsarnas’s alleged breach of their
        employment contracts. The Court held a hearing on the motion for pre-
        liminary injunction on March 11, 2020.

                                       DISCUSSION

             I.   Preliminary Injunction Standard Generally

           “It frequently is observed that a preliminary injunction is an extraor-
        dinary and drastic remedy, one that should not be granted unless the
        movant, by a clear showing, carries the burden of persuasion.” Mazurek
        v. Armstrong, 520 U.S. 968, 972 (1997) (quoting llA C. Wright, A. Miller

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        & M. Kane, Federal Practice and Procedure § 2948, pp. 129-130 (2d ed.
        1995)). Courts are reminded that this remedy is “the exception rather
        than the rule.” United States ex rel. Citizen Band Potawatomi Indian
        Tribe v. Enter. Mgmt. Consultants, Inc., 883 F.2d 886, 888 (10th Cir.
        1989). This heavy burden requires plaintiffs to demonstrate (1) that they
        are substantially likely to succeed on the merits of their claims, (2) that
        they will suffer irreparable injury absent a preliminary injunction, (3)
        that their “threatened injury” without the injunction outweighs the op-
        posing party’s injury if the Court grants the injunction, and (4) that the
        injunction isn’t adverse to the public interest. Free the Nipple-Fort Col-
        lins v. City of Fort Collins, Colo., 916 F.3d 792, 797 (10th Cir. 2019); see
        also Heideman v. S. Salt Lake City, 348 F.3d 1182, 1188 (10th Cir. 2003)
        (right to preliminary injunction must be “clear and unequivocal”).

           If the injunction sought is of a “disfavored” type, the moving party
        must make an especially “strong showing” that the likelihood of success
        and balance of harms factors weigh in its favor. Free the Nipple, 916 F.3d
        at 797. A disfavored preliminary injunction is one that: (1) mandates
        action (rather than prohibiting it); (2) changes the status quo; or (3)
        grants all the relief that the moving party could expect from a successful
        trial. Id. The injunction requested here does not grant all the relief
        SRSA could expect from a win at trial, but the parties disagree about
        the other two possibilities.

           The Court admits that in many cases trying to resolve what consti-
        tutes a mandatory injunction versus a prohibitory one, or which side is
        seeking to alter the status quo feels more metaphysical than legal or




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        factual.2 Both sides in most disputes can make a relatively persuasive
        case, as the parties do here. PNC argues, for example, that SRSA seeks
        a mandatory injunction because the result of the requested injunction
        would be to require PNC to stop ongoing marketing of PNC Paid, hire
        new developers and marketing teams to create and sell a replacement,
        and take other actions it currently has no plans to take. SRSA responds
        that all it seeks is an order prohibiting the Defendants from continuing
        to illegally use its trade secrets, not to mandate anything. SRSA argues
        this would simply reinstate the status quo as of the moment before PNC
        began misappropriating SRSA’s proprietary information, while PNC
        contends the injunction seeks to effectively turn back the clock over a
        year, undoing millions of dollars’ and countless hours’ worth of its time
        and effort.

            Ultimately, the Court concludes that this is the sort of injunction that
        should have to meet the elevated standard. SRSA isn’t simply asking
        the Defendants to wait a few months to do something. PNC Paid has
        been up and running for nearly a year. Ms. Kelly and Mr. Tsarnas have
        been working in their roles at PNC for two years. SRSA knew about most
        if not all of the information they allegedly took with them, either when
        they left of immediately afterwards. The Court does not agree com-
        pletely with PNC that the injunction should be rejected entirely because
        SRSA did not file suit or seek the injunction for more than a year after
        that. But see Deer Valley Resort Co. v. Christy Sports, LLC, No. 2:07-CV-
        00904DAK, 2007 WL 4570664, at *4 (D. Utah Dec. 21, 2007) (one-year
        delay weighs against a finding of irreparable harm). But the Court does

        2   Indeed, this endeavor often has a chicken-or-the-egg feel to it, which
        perhaps could be considered the most enduring form of the debate over
        what to consider the status quo and what to consider a change to it. See
        e.g., Plutarch, The Symposiacs, Question III (“Which was first, the Bird
        or the Egg?”).

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        find that this fact means the injunction seeks to undo much more than
        it would have if issued earlier, and undermines whatever argument
        SRSA might have had that it was on the side of preserving, rather than
        upsetting, the status quo. Even the narrower relief SRSA has suggested
        the Court might alternatively enter would not merely “prohibit” the De-
        fendants from doing anything; it would also effectively require them to
        undo ongoing contracts and negotiations, shut down PNC Paid to at
        least some extent, hire new developers and other staff, and create por-
        tions of their technology from scratch. Such relief would not merely pre-
        serve the relationship among the parties pending trial, it seeks to pump
        water back over the dam. The injunction therefore can only issue if
        SRSA has made a particularly strong showing that it is likely to succeed
        on the merits and that the balance of harms is in its favor.

            II.    Plaintiffs’ Trade-Secrets Claims

           Plaintiffs claim that Defendants misappropriated five separate trade
        secrets—SRSA’s customer list, payments spreadsheet, pricing strate-
        gies, product-development strategies, and several of SRSA’s internal
        procedure documents—and they seek to enjoin Defendants from using
        these trade secrets. After careful consideration of the record, and with
        the benefit of oral argument, the Court concludes that Plaintiffs have
        failed to establish that an injunction is necessary at this time. While
        there are certainly issues on which Plaintiffs could prevail at trial, they
        have failed to make the difficult showing that they are clearly and une-
        quivocally entitled to such a drastic remedy rather than an award of
        damages.

                     A. The Colorado Uniform Trade Secrets Act and the
                        Federal Defense of Trade Secrets Act

           Plaintiffs assert two claims for misappropriation of trade secrets: one
        under Colorado law, the other under federal law.

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           A claim for violation of the Colorado Uniform Trade Secrets Act re-
        quires a plaintiff to prove three elements. First, the plaintiff must es-
        tablish that they “possessed a valid trade secret.” Gates Rubber Co. v.
        Bando Chem. Indus., Ltd., 9 F.3d 823, 847 (10th Cir. 1993). The Colo-
        rado Uniform Trade Secrets Act defines a trade secret as “the whole or
        any portion or phase of any scientific or technical information, design,
        process, procedure, formula, improvement, confidential business or fi-
        nancial information, listing of names, addresses, or telephone numbers,
        or other information relating to any business or profession which is se-
        cret and of value.” Colo. Rev. Stat. § 7-74-102(4). To be a trade secret,
        the plaintiff-owner “must have taken measures to prevent the secret
        from becoming available to persons other than those selected by the
        owner to have access thereto for limited purposes.” Id. Colorado courts
        consider additional factors in determining whether a trade secret exists,
        including:

              1) the extent to which the information is known outside the
              business; 2) the extent to which it is known to those inside
              the business, i.e., by the employees; 3) the precautions
              taken by the holder of the trade secret to guard the secrecy
              of the information; 4) the savings effected and the value to
              the holder in having the information as against competi-
              tors; 5) the amount of effort or money expended in obtain-
              ing and developing the information; and 6) the amount of
              time and expense it would take for others to acquire and
              duplicate the information.

        Colorado Supply Co. v. Stewart, 797 P.2d 1303, 1306 (Colo. App. 1990).
        Second, a plaintiff must establish that the trade secret was disclosed
        without its consent. Gates Rubber, 9 F.3d at 847. And third, the plaintiff
        must prove that the defendant knew or should have known that the
        trade secret was acquired by improper means. Id.




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           A claim for violation of the federal Defense of Trade Secrets Act has
        similar elements to the Colorado Act. A plaintiff must first establish “the
        existence of a trade secret that relates to a product or service used in, or
        intended for use in, interstate or foreign commerce.” Arctic Energy
        Servs., LLC v. Neal, No. 18-CV-00108-PAB-KLM, 2018 WL 1010939, at
        *2 (D. Colo. Feb. 22, 2018). And the Defense of Trade Secret Act likewise
        defines trade secret broadly to mean:

              all forms and types of financial, business, scientific, tech-
              nical, economic, or engineering information, including pat-
              terns, plans, compilations, program devices, formulas, de-
              signs, prototypes, methods, techniques, processes, proce-
              dures, programs, or codes, whether tangible or intangible,
              and whether or how stored, compiled, or memorialized
              physically, electronically, graphically, photographically, or
              in writing if the owner thereof has taken reasonable
              measures to keep such information secret; and the infor-
              mation derives independent economic value, actual or po-
              tential, from not being generally known to, and not being
              readily ascertainable through proper means by, another
              person who can obtain economic value from the disclosure
              or use of the information.

        18 U.S.C § 1839(3). Second, a plaintiff must prove that the defendant
        acquired, used, or disclosed the trade secret without consent. Arctic En-
        ergy, 2018 WL 1010939, at *2. And third, the plaintiff must establish
        that “the person acquiring, using, or disclosing the trade secret knew or
        had reason to know that the trade secret was acquired by improper
        means.” Id. Neither party has suggested that there is any meaningful
        difference between the two laws, at least as is relevant for purposes of
        assessing the preliminary injunction.

           In evaluating whether a preliminary injunction is proper for Plain-
        tiffs’ trade-secrets claims, the Court is mindful that the purpose of trade-
        secrets law is to protect and encourage lawful competition. Am. Can Co.



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        v. Mansukhani, 742 F.2d 314, 329 (7th Cir. 1984). Given this, “trade se-
        cret protection should not extend beyond the limits needed to protect
        genuine trade secrets.” Id. “Broader protection would stifle legitimate
        competition by prohibiting competitors from using their own independ-
        ent discoveries, public information and reverse engineering.” Id.

                     B. Likelihood of Success on the Merits

           To be entitled to a preliminary injunction, a movant is not required
        to establish that it is certain to prevail, or even that it has an “over-
        whelming likelihood” of success. See Atchison, Topeka & Santa Fe Ry.
        Co. v. Lennen, 640 F.2d 255, 261 (10th Cir. 1981) (“It is only necessary
        that plaintiffs establish a reasonable probability of success … .”). Nev-
        ertheless, even though it is possible that SRSA could prevail on some of
        its claims at trial, that is not enough to justify a preliminary injunction
        unless, as explained above, Plaintiffs have made such a “strong show-
        ing” that they are likely to succeed that the Court is convinced they are
        clearly and unequivocally entitled to this extraordinary remedy. See
        Part I, supra. For the reasons explained below, and based on the evi-
        dence before the Court at this time, SRSA has failed to make the neces-
        sary showing.

                              1.   Ms. Kelly’s Contact List

           Plaintiffs argue that Ms. Kelly misappropriated SRSA’s customer
        lists and customer information. Mot. at 13–17. The parties don’t dispute
        that, in the days before Ms. Kelly left SRSA, she updated a spreadsheet
        Ms. Kelly titled “HK Contacts” using her SRSA email and an SRSA da-
        tabase. Mot. at 15; Resp. at 6. The contacts spreadsheet contained fields
        for each contact’s name, company, email, phone number, and a notes
        column. Doc. 73-5. Ms. Kelly offered undisputed testimony that this con-
        tacts spreadsheet contains contacts that pre-existed her employment as


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        SRSA, “purely personal” contacts, and contacts she developed while at
        SRSA. Doc. 130, ¶ 24. Plaintiffs seek to enjoin Defendants’ use of this
        spreadsheet on the ground that it is an SRSA customer list and thus a
        trade secret that Ms. Kelly misappropriated.

            While it’s true that, as Plaintiffs point out, a business’s customer lists
        can be trade secrets,3 SRSA has not convinced the Court that Ms. Kelly’s
        full contact list is a trade secret. Unlike most of the documents involved
        in the cases SRSA cites, the HK Contacts document itself was not cre-
        ated by SRSA for its use, but by Ms. Kelly for hers. Had she merely saved
        a copy of the SRSA database, Plaintiffs’ claim would be stronger. But
        instead, she created her own document, in which she combined some
        information from that database with contacts that are either personal
        to Ms. Kelly or preexisted her relationship with SRSA. And there does
        not appear to be any claim that Ms. Kelly used the database or her email
        to take information about other SRSA employees’ contacts; even when
        she did access the database, it was apparently to find the relevant con-
        tact information for individuals she, herself, had a relationship with. To
        be sure, the spreadsheet contains contacts Ms. Kelly developed while
        she was employed at SRSA, but the information about these contacts is
        of a kind that is readily ascertainable within her trade: names, emails,
        phone numbers, and job titles. See Fox Sports Net N., L.L.C. v. Minn.
        Twins P’ship, 319 F.3d 329, 336 (8th Cir. 2003) (“Further, [the]
        knowledge of industry contact people does not rise to the level of a trade
        secret because this type of unprotected information is readily ascertain-
        able within a trade.”); see also CDI Energy Servs. v. W. River Pumps,

        3  See, e.g., Hertz v. Luzenac Grp., 576 F.3d 1103, 1114 (10th Cir. 2009);
        Haggard v. Spine, No. 09-CV-00721CMAKMT, 2009 WL 1655030, at *9
        (D. Colo. June 12, 2009); Fireworks Spectacular, Inc. v. Premier Pyro-
        technics, Inc., 86 F. Supp. 2d 1102, 1106 (D. Kan. 2000) (enjoining use of
        customer list “compiled over many years and thousands of hours”).

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        Inc., 567 F.3d 398, 402 (8th Cir. 2009) (determining that the plaintiff’s
        customer list was not protectable as a trade secret where the potential
        customers were a small group of easily identifiable locally operated oil
        field companies and could easily be attainable by those in the local oil
        field service and equipment industry); Hecny Transp., Inc. v. Chu, 430
        F.3d 402, 404 (7th Cir. 2005) (Easterbrook, J.) (determining that the
        plaintiff’s customer information was not a trade secret because the cus-
        tomers’ identities were well known in the industry).

           Plaintiffs attempt to recast Ms. Kelly’s contact list as a “customer
        list” that includes information on “customer relationships,” the identity
        of key “decision-makers,” and “customer preferences.” Mot. at 14. The
        problem with this argument is that Ms. Kelly’s contact spreadsheet it-
        self contains little if any of this information. It merely identifies the
        names and contact information of her contacts, which isn’t trade-secret
        material.

           Plaintiffs also argue that Ms. Kelly used her contacts spreadsheet to
        develop a target customer list for PNC Paid and that this is evidence of
        misappropriation. Mot. at 15. Indeed, while it is the HK Contacts list
        that SRSA claims is a misappropriated trade secret, it is apparent that
        their real complaint is not really with Ms. Kelly’s creation of the list
        itself. A departing employee’s updating of a contacts list is hardly the
        sort of unusual thing that would warrant the extraordinary relief re-
        quested here. The actual source of SRSA’s ire is not the list itself, but
        the fact that some parts of it were merged with the broader PNC target
        list, and that simply knowing that a particular person is, for example,
        the right employee at Apple to pitch for M&A payments escrow products,
        is a valuable bit of information that should be protected.




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            Plaintiffs assert that this target customer list is evidence of misap-
        propriation because many of the potential customers on the list are or
        were SRSA customers. Mot. at 15–16. And for a few of the potential cus-
        tomers, Ms. Kelly included notes that appear to reference information
        she gleaned while an employee of SRSA, e.g., that a client “just started
        doing deals when I left.” Doc. 100-12, at 40.

            The Court agrees that such insights and targeted contact infor-
        mation about who, exactly, at a particular potential customer may be
        the best contact is valuable. It is possible that, if it was developed and
        curated by the plaintiff company, such information could be a trade se-
        cret in certain circumstances. Hertz, 576 F.3d at 1114 (“A customer list
        can be a trade secret when it is the end result of a long process of culling
        the relevant information from lengthy and diverse sources, even if the
        original sources are publicly available.”). And it may well be that there
        is some such information that SRSA developed and that Ms. Kelly took
        from SRSA and gave to PNC, rather than information that Ms. Kelly or
        PNC developed on their own or found in public sources. At trial, SRSA
        may well be able to prove as much to a jury. But given the elevated
        standards for the extraordinary relief sought here, the Court is unable
        to say that the record before it establishes with particularity which, if
        any, of the entries that were transported from the HK Contacts list to
        the PNC target list4 would qualify as trade secrets rather than infor-
        mation Ms. Kelly previously knew, was publicly available, or that PNC
        learned from other sources. Simply that the HK Contacts list matches




        4  The record as supplemented by the evidence presented at the hearing
        does support that this is what happened.

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        some entries on the PNC target list does not establish that the infor-
        mation in any particular entry was trade secret. 5 And certainly the rec-
        ord cannot support the broad injunction SRSA seeks against the sale or
        marketing of PNC Paid to any of the 35 entities mentioned on the HK
        Contacts list.

            To the extent Ms. Kelly relied on her experience with SRSA to help
        develop the PNC target customer list, she appears to have taken steps
        to ensure that she complied with her contractual obligation not to solicit
        certain SRSA customers within one year of leaving SRSA—the spread-
        sheet includes a field to identify those companies Ms. Kelly couldn’t so-
        licit under her SRSA contract. Doc. 130, ¶ 26. Ms. Kelly’s employment
        agreement also undermines the idea that she would have understood
        any knowledge she gained about potential customers to be SRSA’s trade
        secret in two ways. One, its non-competition clause only applied during
        her employment with SRSA, not after. And two, its non-solicitation
        clause only applied to certain companies, and only for one year. This
        implies that any other companies could be solicited, even during the first
        year, and that others could be solicited after. Much of what SRSA claims
        is a trade secret here, such as customer preferences about general things



        5  Nearly all the information on the relevant entries from the HK Con-
        tacts list is about Ms. Kelly’s own relationship, or about PNC’s efforts
        with, the target in question. Only a few comments include information
        that seems to directly relate to SRSA, including, e.g., entries stating,
        “Was very close to being a client. The concept of non-bank bothered
        them. Big on payment platform”; “Just started doing deals when I left.
        Assuming bank client here?”; “Big user of payroll”; “Small Escrows”;
        “They only do payments. No Escrow”; and “had terrible fall out on Sun-
        tRust [sic] escrow.” Doc. 100-12, at 40. These statements could be the
        result of improper use of SRSA information, but they could also be de-
        veloped in other ways that are not improper. Without a particularized
        showing, the Court cannot say that SRSA has met its burden at the pre-
        liminary injunction stage, even as to these statements.

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        like needing a payments product or which law firms served which com-
        panies, Ms. Kelly would not be able to “unlearn” if she left. If this infor-
        mation were truly a trade secret, allowing Ms. Kelly to solicit companies
        about which she knew such information either immediately or at most
        in one year, is not a reasonable means of protecting it.6

            And although Ms. Kelly’s notes in the PNC spreadsheet are perhaps
        a closer call, Plaintiffs have not shown how any individual comment is
        a trade secret. Many of the comments, like the basic contact information,
        appear innocuous. Take Ms. Kelly’s repeated notation that she had a
        “strong relationship” with individual contacts. Ms. Kelly’s own charac-
        terization of her relationship with a customer, by itself, isn’t a trade se-
        cret. Other comments contain information that could, in theory, be a
        trade secret. But the Court lacks a basis to conclude as much. Was it, for
        example, publicly known that the SRSA client referenced above had
        “just started doing deals” when Ms. Kelly left SRSA? SRSA failed to an-
        swer this question in its motion papers and hearing evidence. Without
        a more particularized showing, the Court cannot enjoin the use of Ms.
        Kelly’s contacts.

            The decisions that Plaintiffs rely on to support their argument that
        Ms. Kelly’s contact list is a trade secret are distinguishable. Hertz v.
        Luzenac Group; Haggard v. Spine; Xantrex Technology Inc. v. Advanced
        Energy Industries, Inc.; R & D Business Systems v. Xerox Corp.; and
        Morlife, Inc. v. Perry all stand for the unremarkable proposition that
        detailed customer lists, developed by the employer over a long period of


        6   The Court is aware that SRSA likely understood that an employment
        agreement that sought to extend these prohibitions indefinitely would
        likely be illegal as against public policy. But that only highlights the
        point that trade secret law should not be read as doing what is against
        public policy if done by contract.

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        time, are trade secrets.7 Had Ms. Kelly taken a copy of SRSA’s database,
        these cases would be more apt. But she didn’t. She updated her own list
        of contacts that pre-existed her employment with contact information
        from her time at SRSA. Some of that information came from SRSA’s da-
        tabase, but the basic information that she copied from that database
        does not amount to a trade secret. The HK Contacts list itself contains
        no more than basic contact information, not detailed customer prefer-
        ences or other information that might give Defendants an unlawful leg
        up on its competition. The information Ms. Kelly apparently added to
        the PNC target list from her recollection is also not a protected trade
        secret for the reasons stated above—SRSA hasn’t shown how the com-
        ments individually or collectively are confidential trade secrets.




        7   See Hertz, 576 F.3d 1103, 1114 (10th Cir. 2009) (“A customer list can
        be a trade secret when it is the end result of a long process of culling the
        relevant information from lengthy and diverse sources, even if the orig-
        inal sources are publicly available.”); Haggard, No. 09-cv-00721-CMA-
        KMT, 2009 WL 1655030, at *9 (D. Colo. June 12, 2009) (“Plaintiff devel-
        oped detailed information regarding his customers (doctors and hospi-
        tals within his sales territory) that meets the standard for trade secret
        protection. He developed information regarding his customers’ surgical
        specialties, business preferences, and contact people within their hospi-
        tals or physician groups.”); Xantrex, No. 07-cv-02324-WYD-MEH, 2008
        WL 2185882, at *18 (D. Colo. May 23, 2008) (“Detailed customer infor-
        mation is a trade secret.”); R & D Bus. Sys., 152 F.R.D. 195, 197 (D. Colo.
        1993) (detailed customer lists are trade secrets); Morlife, 56 Cal. App.
        4th 1514, 1521 (1997) (“[W]here the employer has expended time and
        effort identifying customers with particular needs or characteristics,
        courts will prohibit former employees from using this information to cap-
        ture a share of the market. Such lists are to be distinguished from mere
        identities and locations of customers where anyone could easily identify
        the entities as potential customers.”).

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                              2.   The SRSA Payments Spreadsheet

           Plaintiffs seek to enjoin the use of the SRSA payments spreadsheet
        that Ms. Kelly took from SRSA before her departure. Because the evi-
        dence adduced at this stage of the proceedings shows that the spread-
        sheet wasn’t confidential, the Court concludes that SRSA has not shown
        a likelihood of success on the merits.

           It is undisputed that before she left SRSA, Ms. Kelly emailed herself
        a copy of the SRSA payments spreadsheet. Doc. 73, ¶ 59. Indeed, on
        April 2, 2018, her counsel informed SRSA that she did so. Doc. 136-3. In
        that letter, her counsel wrote that Ms. Kelly had the payments spread-
        sheet on her personal e-mail. Id. at 3. PNC used the spreadsheet as the
        foundation to create its own spreadsheet for PNC Paid. Doc. 73, ¶¶ 59–
        64. Metadata analyzed by SRSA confirms that the SRSA spreadsheet is
        the foundation for the PNC spreadsheet.

           Yet it is also undisputed that SRSA freely shared the spreadsheet
        with parties to mergers and acquisitions, on which SRSA was engaged
        to provide payments-and-escrow services. Indeed, PNC produced nu-
        merous emails showing SRSA had forwarded copies of the spreadsheet
        to deal parties without requiring confidentiality commitments from
        them. E.g., Doc. 120-6; Doc. 120-7; Doc. 120-8; Doc. 120-9.

           The Court concludes that Plaintiffs are not likely to succeed on the
        merits of their trade-secrets claims as they pertain to the spreadsheet.
        The Court does not agree with Defendants’ characterization of the doc-
        ument as a “blank spreadsheet”—while the data cells are indeed blank,
        for purposes of creating PNC Paid, the important information was in the
        100-plus items the spreadsheet lists to be collected. Those “heading”
        cells are not blank, and SRSA produced evidence that it spent significant
        time and money developing that particular spreadsheet. Even so, the

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        Court cannot agree that the spreadsheet is a trade secret. As SRSA con-
        ceded, though the spreadsheet contains valuable business information
        used to sync client information with the SRSA algorithms, SRSA shares
        that information in every deal it does without any agreement requiring
        clients to keep the spreadsheet confidential. A party can’t claim trade-
        secret protections over an alleged trade-secret that is shared widely in
        the industry without protection. Hawg Tools, LLC v. Newsco Int’l Energy
        Servs., Inc., 411 P.3d 1126, 1130 (Colo. App. 2016) (“The subject of
        a trade secret must be secret, and must not be of public knowledge or of
        a general knowledge in the trade or business.”), as modified on denial of
        reh’g (Jan. 12, 2017).

           SRSA’s only argument on this point is that while there are no explicit
        or written confidentiality agreements, the spreadsheets are shared un-
        der an implied duty of confidentiality. Resp. at 5. It is true that in some
        circumstances, such an implied duty can be enough to protect a trade
        secret. See Kewanee Oil Co. v. Bicron Corp., 416 U.S. 470, 475 (1974)
        (“This necessary element of secrecy is not lost, however, if the holder of
        the trade secret reveals the trade secret to another ‘in confidence, and
        under an implied obligation not to use or disclose it.’”). But the evidence
        here simply does not support the conclusion that SRSA shared the
        spreadsheet with the understanding that it was a confidential trade se-
        cret that could not be used or shared.

           Just the opposite: Defendants produced testimony at the evidentiary
        hearing that they received the spreadsheet under the assumption it
        wasn’t confidential. Such spreadsheets, in some form, are used in every
        M&A transaction. Adam Lezack of Fortis testified that he had received
        numerous copies of the SRSA spreadsheet over his years in the pay-
        ments-and-escrow industry and had them in his files along with similar
        documents from others in the industry. This is quite different from the

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        cases SRSA relies on, where, for example, a plaintiff shared a product
        with a single company for the limited purpose of testing it, which the
        defendant then went on to copy, see Mineral Deposits Ltd. v. Zigan, 773
        P.2d 606, 608 (Colo. App. 1988), or an inventor pitched his invention to
        a single potential buyer under an alleged confidentiality agreement, see
        Gronholz v. Sears, Roebuck and Co., 869 F.2d 390, 393 (8th Cir. 1989).
        SRSA offered testimony that these deals are too fast-moving and involve
        too many documents to require a nondisclosure agreement for each one.
        This is true in general, and the Court agrees that not everything dis-
        closed in an acquisition loses its trade-secret status without one. But it
        is also true that a confidentiality agreement is a fairly common part of
        corporate deals, and if a company knows that a particular document that
        it believes is a trade secret will be part of every deal it does, there is no
        reason it cannot include that document as a covered item under the con-
        fidentiality agreement.8 When it does not, and instead provides hun-
        dreds of clients, banks, and third parties with copies of the document
        with no explicit protection, the Court cannot find that reasonable steps
        were taken to protect its secrecy.

            SRSA seeks an injunction that would prohibit PNC from using the
        spreadsheet that it concedes it built starting with the SRSA version as
        its base. This would in turn prevent PNC Paid from functioning until
        PNC developed a new payments spreadsheet of its own. And SRSA asks
        the Court to require PNC to create a “clean room” in which nobody who



        8  SRSA also elicited testimony from a PNC product and software engi-
        neer that he believes it would be unethical to use another company’s
        spreadsheet or to share PNC’s with others. Mot. at 18. A product engi-
        neer’s duties would not include sharing company documents, so that is
        understandable. But this testimony does not overcome the fact that
        SRSA consistently did share the document with others and never sought
        nondisclosure agreements.

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        had worked on the current version of PNC’s payments spreadsheet could
        assist in the creation of the new spreadsheet. This would effectively shut
        down PNC Paid for a significant period of time, which the Court cannot
        justify doing on the thin basis that a document that has been shared
        hundreds of times with hundreds of different companies and individuals
        should be covered by an implied duty of confidentiality.

              3. SRSA’s Pricing Information

           Plaintiffs next seek to enjoin Defendants from using SRSA’s pricing
        strategies. Mot. at 19–20. According to their proposed injunction, this
        would entail enjoining Defendants from “using … SRSA’s pricing strat-
        egies” and prohibiting Ms. Kelly and Mr. Tsarnas from working on PNC
        Paid. Doc. 88-1, ¶¶ 1, 6. Plaintiffs point to no specific data or document
        that Defendants misappropriated in support of this request. They in-
        stead argue that Mr. Tsarnas must be enjoined from using his “ready
        recollection” of SRSA’s pricing strategies. Id. at 20. According to Plain-
        tiffs, Mr. Tsarnas’ misappropriation of the pricing strategies is apparent
        from the fact that PNC has undercut SRSA on price several times. Id.
        at 20. The Court cannot enjoin the alleged use of SRSA’s pricing strate-
        gies on this basis.

           Initially, while certain specifics about how SRSA arrives at a partic-
        ular price for a particular deal might be a trade secret, neither its prices
        nor its general pricing strategies can be considered trade secrets. As De-
        fendants point out, SRSA’s pricing information is well known in the in-
        dustry, shared with customers without confidentiality or other similar
        agreements, and easily ascertainable by third parties. Resp. at 13–15.
        And “pricing information shared freely with customers without confi-
        dentiality requirements is insufficiently secret to garner protection.”
        Arjo, Inc. v. Handicare USA, Inc., No. 18 C 2554, 2018 WL 5298527, at


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        *4 (N.D. Ill. Oct. 25, 2018). SRSA does not dispute this, but says it is not
        the prices themselves, but the strategies and formulas used to arrive at
        them that it seeks to protect.

            But from the robust information about SRSA’s actual prices, which
        they acknowledge is public, it would not be hard to reverse engineer the
        general strategies used to arrive at them. Even so, it would perhaps be
        troubling if it seemed PNC was consistently setting its prices just below
        SRSA’s, and thereby using detailed knowledge about SRSA to set its
        prices. But to the contrary, the evidence supports PNC’s argument that
        it sets its prices on an entirely different basis than SRSA. PNC appears
        to use PNC Paid as something of a loss leader, pricing it well below
        SRSA, because as a bank, PNC profits more by getting the escrow ac-
        counts themselves than it does by charging for PNC Paid. 9 Thus, even if
        Mr. Tsarnas has detailed knowledge of how SRSA sets prices (over a
        year after his departure), it does not appear to play much role in PNC’s
        business.

            In any event, Plaintiffs’ requested injunction is overbroad: it would
        effectively prevent Mr. Tsarnas, a pricing specialist, from working in the
        payments-and-escrow industry because he would always be able to rec-
        ollect SRSA’s pricing strategies. See Mulei v. Jet Courier Serv., Inc., 739
        P.2d 889, 892–93 (Colo. App. 1987) (The “general ability and know-how
        an employee brings into employment, and the skill and experience ac-
        quired during it, are not the employer’s property; the right to use and
        expand these powers remains the employee’s.”), rev’d in part on other



        9   Certain of the evidence, particularly Ms. Kelly’s text messages, also
        seem to hint that PNC may hope to use its low prices to drive SRSA out
        of business, or perhaps into a sale. But that is not of any real relevance
        to the trade secret matters at issue here.

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        grounds, 771 P.2d 486 (Colo. 1989). Again, SRSA did not seek such lim-
        its by agreement, and it could not have. This kind of injunction is anti-
        competitive and thus contrary to the purpose of the Colorado Uniform
        Trade Secrets Act and the Defense of Trade Secrets Act. ClearOne
        Commc’ns, Inc. v. Chiang, 608 F. Supp. 2d 1270, 1282 (D. Utah 2009)
        (refusing to enjoin defendant from working in relevant industry in trade-
        secrets dispute because such an injunction would be “anticompetitive”),
        aff’d in part, ClearOne Commc’ns, Inc. v. Bowers, 643 F.3d 735 (10th Cir.
        2011).

                  4. SRSA’s Product-Development Strategies

           Plaintiffs contend that Ms. Kelly and Mr. Tsarnas misappropriated
        the product-development strategies of three SRSA products: Deal Dash-
        board, Acquiom Compensation Payments, and Pre-Closing Solicitation.
        Mot. at 21–24. As explained, Deal Dashboard is an electronic portal that
        permits a repeat customer to see the status of their deals being facili-
        tated by SRSA. Id. at 22. Acquiom Compensation Payments facilitates
        payments to former employees or option-holders of an acquired com-
        pany. Id. at 23. And Pre-Closing Solicitation facilitates gathering share-
        holder signatures and consents prior to a deal’s closing. Id. Plaintiffs
        contend that the development strategies surrounding these products are
        trade secrets, which Ms. Kelly and Mr. Tsarnas had access to by dint of
        their employment. Id. at 21–24. According to Plaintiffs, the fact that Ms.
        Kelly and Mr. Tsarnas left SRSA and helped PNC develop similar prod-
        ucts necessarily constitutes evidence of misappropriation. Id.

           Plaintiffs have failed to demonstrate a likelihood of success on the
        merits that knowledge of these products is a trade secret. SRSA adver-
        tised the functionalities of Acquiom Compensation Payments and Pre-
        Closing Solicitation long before Ms. Kelly and Mr. Tsarnas left SRSA.


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        And “the copying of a product design, already on the market, cannot give
        rise to a claim of misappropriation of a trade secret.” Medinol Ltd. v.
        Bos. Sci. Corp., 346 F. Supp. 2d 575, 608 (S.D.N.Y. 2004). This is because
        “a product design that has been embodied in a product and held out to
        the public for sale loses whatever secrecy it had and, with that loss,
        whatever trade secret protection it once may have been entitled to
        claim.” Id. at 607. Deal Dashboard fares no better. Even though Deal
        Dashboard was still in development when Ms. Kelly and Mr. Tasrnas
        left SRSA, it isn’t clear that a portal allowing a user to see its active
        deals is a trade secret. There is nothing about PNC’s version of this por-
        tal that reflects any particular secret. Defendants introduced evidence
        that other payment-and-escrow businesses, including Fortis, had devel-
        oped similar products. The Court agrees with Defendants that an online
        platform to view deal information is hardly a novel idea. Nadel v. Play-
        By-Play Toys & Novelties, Inc., 208 F.3d 368, 378 (2d Cir. 2000) (noting
        that trade secret protection “cannot be found where the idea consists of
        nothing more than a variation on a basic theme.”).

           Similar to their argument about pricing, Plaintiffs argue that they
        seek to enjoin the use of their product strategies, not knowledge of the
        products themselves. But product strategies are embodied in the prod-
        ucts themselves. And in any event, Plaintiffs’ proposed injunction belies
        this argument. They seek to enjoin Defendants use of PNC’s Buyer Por-
        tal, Compensation Payments product, and PNC’s Pre-Closing Solicita-
        tion product. Doc. 86-1, ¶ 5. That is, they seek to enjoin the use of the
        products themselves, not the product strategies. Plaintiffs’ argument
        suffers from the same flaw as their request to enjoin the use of pricing
        strategies: it would effectively ban Ms. Kelly and Mr. Tsarnas from
        working in the industry. That anti-competitive result runs counter to
        the purposes of trade-secret law.


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           PNC also produced significant evidence, including videos produced
        and promoted by SRSA, showing that SRSA was publicly revealing the
        salient aspects of Deal Dashboard before it was released. In any event,
        it is publicly available now, and thus not a secret. To the extent SRSA
        can prove information about it was misappropriated at trial, that may
        justify damages, but it does not justify a preliminary injunction.

                               5. SRSA’s Procedure Documents

           Plaintiffs last seek to enjoin Ms. Kelly’s alleged misappropriation of
        two of SRSA’s technical documents: a document titled “Payment Product
        Specifications” that details “operational processes used to implement
        SRSA’s” products, and a document titled “Imports process and proce-
        dures.docx” that details “SRSA’s processes for integrating shareholder
        and payment data into its back-end database.” Mot. at 24. The parties
        don’t dispute that Ms. Kelly took these documents. Ms. Kelly’s attorney
        informed SRSA on April 2, 2018 that she had forwarded a copy of these
        documents to him without retaining a copy. Doc. 136-3, at 1.

           Plaintiffs have failed to carry their burden regarding these proce-
        dural documents. They have not established that Ms. Kelly obtained
        these documents by improper means: theft, bribery, misrepresentation,
        breach or inducement of a breach of a duty to maintain secrecy, or espi-
        onage. See Saturn Sys., Inc. v. Militare, 252 P.3d 516, 525 (Colo. App.
        2011) (claim of misappropriation of trade secrets requires evidence that
        defendants’ obtained trade secrets through improper means). They
        knew that the documents were in Ms. Kelly’s possession on April 2, 2018
        but waited more than a year to seek an injunction of their use. Ms. Kelly
        kept the documents (apparently to help facilitate her transition, see Doc.
        136-3 at 3), told SRSA that she did so, and despite this, SRSA failed to




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        request she return the documents for nearly a year.10 And again, to the
        extent they were misappropriated, SRSA can obtain damages to com-
        pensate for the harm that misappropriation caused; an injunction at this
        point seems intended more to punish than to prevent harm prior to trial.

                      C. Irreparable Harm

             “A showing of probable irreparable harm is the single most important
        prerequisite for the issuance of a preliminary injunction.” Dominion
        Video Satellite, Inc. v. Echostar Satellite Corp., 356 F.3d 1256, 1260
        (10th Cir. 2004). “Irreparable harm, as the name suggests, is harm that
        cannot be undone, such as by an award of compensatory damages or
        otherwise.” Salt Lake Tribune Pub. Co., LLC v. AT & T Corp., 320 F.3d
        1081, 1105 (10th Cir. 2003). “To constitute irreparable harm, an injury
        must be certain, great, actual and not theoretical.” Schrier v. Univ. of
        Colo., 427 F.3d 1253, 1267 (10th Cir. 2005). “The party seeking injunc-
        tive relief must show that the injury complained of is of such imminence
        that there is a clear and present need for equitable relief to prevent ir-
        reparable harm.” Id. (quoting Heideman, 348 F.3d at 1189 (alteration
        adopted)).

             SRSA has failed to do so here. Take, for example, Ms. Kelly’s contact
        list and Defendants’ alleged use of it to solicit SRSA customers. This
        might very well be a breach of her employment contract with SRSA—
        but that suggests that, as a breach-of-contract claim, SRSA’s injury can



        10  While Ms. Kelly’s attorney did inform SRSA that she would comply
        with the obligations of her employment agreement with SRSA, she did
        not declare that any such documents would be or had been destroyed
        or deleted, and SRSA did not demand that she do so. Indeed, as PNC
        pointed out at the hearing, SRSA’s evidence of PNC’s follow up was a
        letter regarding Mr. Tsarnas that made no mention of Ms. Kelly or the
        documents she acknowledged having.

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        be cured by a damages award. Port City Props. v. Union Pac. R.R. Co.,
        518 F.3d 1186, 1190 (10th Cir. 2008) (“Loss of business can be compen-
        sated in money damages.”); Mountain Med. Equip., Inc. v. Healthdyne,
        Inc., 582 F. Supp. 846, 848 (D. Colo. 1984) (“The essence of the concept
        requires a substantial threat of harm to the movant that cannot be com-
        pensated by money.”). Similarly, for the payments spreadsheet and pro-
        cedure documents, SRSA was on notice a year before it filed suit that
        Ms. Kelly had multiple copies of the spreadsheet in her private email
        and had kept copies of the procedure documents. A delay like this weighs
        against a finding of irreparable harm. See 11A Wright & Miller, Federal
        Practice and Procedure § 2948.1 n.13 (3d ed.) (collecting cases). And in
        any event, there is no discernible irreparable harm for alleged misap-
        propriation of the payments spreadsheet, as well as SRSA’s pricing and
        product information, because, as explained, these items were public. In-
        deed, the alleged bad acts all happened in the past, and thus an injunc-
        tion is not the appropriate remedy for the alleged harm suffered. CDI
        Energy Servs. v. W. River Pumps, Inc., 567 F.3d 398, 403 (8th Cir. 2009)
        (“The harm that had already occurred could be remedied through dam-
        ages.”); Mountain Med. Equip., 582 F. Supp. at 848 (“Harm that has al-
        ready occurred cannot be remedied by an injunction.”).

           The idea of using an online platform to do what had generally been
        done through burdensome physical paperwork was a good one, and
        SRSA profited by being the first to develop it well. But, as PNC points
        out, once the products in those platforms were launched, others could
        and did seek to emulate them, as is typically the case. The basic ideas
        and techniques behind SRSA’s products are now all public, and compe-
        tition for a profitable product was inevitable. SRSA does not dispute
        this. Instead, its primary counterargument is that, by virtue of Defend-




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        ants’ misappropriation, PNC received an “unlawful head start” on cre-
        ating PNC Paid. Mot. at 26. Unlawful head starts are, according to
        SRSA, categorically irreparable injuries because it is difficult to calcu-
        late how a head start affects lost sales. Id. at 26–27. The Court disa-
        grees. Damages are often hard to calculate precisely, in all sorts of cases,
        but lost profits from lost sales are the kind of harm that is capable of
        monetary calculation and compensation. E.g., Cent. Transp. Servs., Inc.
        v. Cole, No. CIV.A. 13-1295, 2013 WL 5938102, at *7 (D. Kan. Nov. 6,
        2013) (damages due to “unfair head start” can be quantified); Ice Corp.
        v. Hamilton Sundstrand Corp., 615 F. Supp. 2d 1256, 1263 (D. Kan.
        2009) (approving award of damages for misappropriation claims based
        on lost sales as a result of misappropriation). The irreparable-injury fac-
        tor weighs against granting an injunction.

                     D. Balance of Harms

           The balance-of-harms analysis “involves an evaluation of the sever-
        ity of the impact on defendant should the temporary injunction be
        granted and the hardship that would occur to plaintiff if the injunction
        should be denied.” 11A Wright & Miller, Federal Practice and Procedure
        § 2948.2 (3d ed.); see also Westar Energy, Inc. v. Lake, 552 F.3d 1215,
        1226 (10th Cir. 2009) (same).

           Here, the balance of harms favors Defendants. If the Court grants
        SRSA’s proposed injunction, Defendants will effectively be forced to stop
        PNC Paid operations until PNC has hired and trained an entirely new
        PNC Paid team, and redeveloped many of the PNC Paid products anew.
        SRSA seeks a “cleanroom” injunction, which seeks to enjoin any PNC
        employee who has had access to or was influenced by the allegedly mis-
        appropriated trade secrets from working on any such redevelopment. By



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        contrast, even though SRSA has known about much of the alleged mis-
        appropriation since the spring of 2018, it nevertheless waited to file suit
        for a year, and any continuing harm it may suffer during the pendency
        of this case is compensable with money damages. And in any event, the
        proposed injunction largely covers information that is publicly known.
        Thus, this factor favors Defendants.

                     E. Public Interest

           Both Plaintiffs and Defendants say the public interest favors their
        side. Indeed, trade secret law is meant to encourage and foster competi-
        tion, but as is typical, in this case both the Plaintiffs and Defendants
        claim that the other is taking an anti-competitive position. Plaintiffs
        claim Defendants are effectively stealing the investments of time and
        money Plaintiffs put into developing a profitable product, which discour-
        ages competition by making such investments less profitable, while De-
        fendants claim Plaintiffs are seeking to use the courts to stifle a new,
        competitive product. There is probably some truth to both positions. And
        the Court agrees that both parties have implicated a real public interest
        at issue—promoting and protecting competition. But because Plaintiffs
        have failed to convince the Court of their likelihood of success on the
        merits of their trade secrets claims, as discussed above, competition is
        best served by not granting Plaintiffs’ motion. To grant the motion,
        would, in the Court’s view, enjoin information that at this point is mostly
        public and thus not trade-secret material. Accordingly, the public inter-
        est favors Defendants.

           III.   Plaintiffs’ Breach-of-Contract Claim

           Plaintiffs also seek an injunction based on Ms. Kelly’s and Mr. Tsar-
        nas’ alleged breach of their contracts with SRSA. Mot. at 25. Ms. Kelly’s
        contract requires her to keep all “Proprietary Information” confidential

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        and to return any such information to SRSA upon termination. Doc. 75-
        1 at 26330. Under her contract, “Proprietary Information includes but is
        not limited to, Trade Secrets, Inventions, marketing plans, product
        plans, business strategies, financial information, forecasts, personnel
        information and customer lists.” Id. And significantly, “Proprietary In-
        formation does not include information generally known or that is or
        becomes public information.” Id. Ms. Kelly’s contract is governed by Col-
        orado law. Id. at 26328. Mr. Tsarnas’ contract contains materially iden-
        tical provisions, with the exception that his contract is governed by New
        York law. Doc. 75-2 at 88315, 88319. Both Colorado and New York rec-
        ognize claims for a breach of a confidentiality provision like those at is-
        sue here. Hertz v. Luzenac Grp., 576 F.3d 1103, 1115 (10th Cir. 2009)
        (“Colorado recognizes a claim for breach of contract regarding an em-
        ployee who was bound to confidentiality.”); Second Source Funding, LLC
        v. Yellowstone Capital, LLC, 144 A.D.3d 445, 446, 40 N.Y.S.3d 410, 411
        (N.Y. App. Div. 2016) (recognizing claim for breach of contractual confi-
        dentiality provision under New York law).

           The Court concludes that a preliminary injunction for breach of con-
        tract is inappropriate for the largely the same reasons detailed above
        with respect to Plaintiffs’ trade-secrets claims. Plaintiffs have failed to
        demonstrate a likelihood of success on the merits of their breach of con-
        tract claim as to Ms. Kelly’s contact list, the payments spreadsheet,
        SRSA’s pricing information, and product strategies because those items
        are all non-confidential, publicly available information. Ms. Kelly’s and
        Mr. Tsarnas’ contracts expressly exclude “information generally known
        or that is or becomes public information” from the confidentiality provi-
        sions. Doc. 75-1, at 26330; Doc. 75-2 at 88315, 88319. And as to the pro-
        cedural documents retained by Ms. Kelly, plaintiffs have, for the reasons
        above, failed to show irreparable harm. And in any event, it’s not clear


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        that Ms. Kelly breached her confidentiality agreement by retaining
        these documents. Her lawyer informed SRSA that Ms. Kelly forwarded
        the documents to him without retaining a copy. Doc. 136-3 at 2. Her
        lawyer’s letter indicates that Ms. Kelly initially took these documents
        with SRSA’s consent. Id. The Court will not enjoin the use of these al-
        leged trade secrets based on breach of contract.

                                     CONCLUSION

           Plaintiffs’ motion for preliminary injunction (Doc. 86) is DENIED.

              Dated: March 26, 2020.


                           BY THE COURT:



                                                  _______________________
                                                  Daniel D. Domenico
                                                  United States District Judge




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